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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                     v.

 PAUL J. MANAFORT, Jr., and                                  Crim. No. 17-201 (ABJ)
 RICHARD W. GATES III,


               Defendants.


                  UNITED STATES OF AMERICA’S RESPONSE TO THE
                        NOVEMBER 2, 2017 MINUTE ORDER

        The United States of America, by and through Special Counsel Robert S. Mueller III, files

this response to the Court’s Minute Order issued November 2, 2017, in which the Court directed

the government to inform the Court of the anticipated length of its case. The government

anticipates that it will need three weeks, or 15 trial days, to present its case in this matter.

Dated: November 2, 2017                         Respectfully submitted,

                                                ROBERT S. MUELLER III
                                                Special Counsel

                                                __/s/_Kyle R. Freeny_________
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